          Case 1:19-cr-10117-IT Document 489 Filed 09/26/19 Page 1 of 11



                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


                                             )
 UNITED STATES OF AMERICA                    )
                                             )
                 v.                          )
                                             )   Criminal No.: 19-10117-IT
 (4)   GORDON CAPLAN,                        )
                                             )
                         Defendant           )
                                             )

         GOVERNMENT’S SUPPLEMENTAL SENTENCING MEMORANDUM

                                          Introduction

       The government respectfully submits this supplemental memorandum in connection with

the sentencing of defendant Gordon Caplan.

       Caplan, the chairman of a global law firm, paid $75,000 to have a corrupt proctor correct

his daughter’s answers on the ACT exam and thereby inflate her score. He had complete insight

into every detail of the scheme: how it would work, who was involved, how they would each do

their part to pull it off. He paid Rick Singer for no other purpose than committing this fraud. His

crime spanned more than eight months and involved two cross country trips with his daughter.

Before it was all over, Caplan even hired a law firm to force the ACT to release his daughter’s

fraudulently inflated test score.

       From the start, Caplan made one thing clear: he was “not worried about the moral issue.”

Committing a crime didn’t bother him. The possibility of getting caught did. This fixation on

saving his own skin was paramount in virtually every conversation Caplan had with Singer.

Caplan brought it up again and again. Not once did he express even the slightest concern about

the fact that what he was doing was wrong.
          Case 1:19-cr-10117-IT Document 489 Filed 09/26/19 Page 2 of 11



       That a lawyer who has reached the apex of his profession could engage in such blatant

criminality reveals a staggering disdain for the law. As much as any defendant in this case, Caplan

deserves to go to jail. The government respectfully recommends that he be sentenced to a term of

eight months in prison, a fine of $40,000, and 12 months of supervised release.

I.     .Caplan’s Relationship with Singer Was Built on Their Joint Pursuit of Fraud.

       Caplan paid Singer for the specific purpose of cheating on the ACT exam. Unlike other

parents who initially retained Singer to provide legitimate college counseling services, but later

agreed to engage in illegal activity, Caplan’s relationship with Singer was built, from inception,

on their joint pursuit of a criminal scheme. Caplan understood how the scheme worked from his

first conversation with Singer. He embraced its illegal goals without reservation. And he made

his feelings explicit to Singer: he had no moral qualms about committing fraud.

       Caplan spoke to Singer for the first time on June 15, 2018, after they were introduced by a

tennis recruiter in Florida. In that call, which was intercepted pursuant to a Court-authorized

wiretap, Singer told Caplan exactly how the scheme worked: Caplan would pay $75,000 “to get

any test scores you would like to get on the SAT or ACT.” He would fly his daughter to Los

Angeles on a “fake recruiting visit,” so that, while there, she could take the exam at a school Singer

controlled. Singer’s proctor would “answer her questions” and “make sure she would-- gets a

score that would be equivalent to the number that we need to get.” And, most important, “[s[he

doesn’t know. Nobody knows what happens. It happened, she feels great about herself.”

       Caplan called back later that same day. He told Singer: “This notion of effectively going

in, flying out to L.A., sitting with your proctor, and taking the exam is pretty interesting.” He

asked, “And it works?” Singer responded, “Every time.” Both men laughed.

       So Singer explained further: to enable the scheme to work, Caplan’s daughter would need

to qualify for 100 percent extended time on the exam. He explained: “[T]he key is the testing,
                                                  2
           Case 1:19-cr-10117-IT Document 489 Filed 09/26/19 Page 3 of 11



and we have to get the testing so that we show a discrepancy. It sounds like she has a discrepancy,

but I need the discrepancies to be significant enough so that we don’t have to appeal and we can

go forward.” He added: “I also need to tell [your daughter] when she gets tested, to be as, to be

stupid, not to be as smart as she is. The goal is to be slow, to be not as bright, all that, so we show

discrepancies.” In the same call, Singer told Caplan that he had “already got the proctor already

set up. He lives in Florida. He actually played tennis at Harvard and he’ll be the proctor.”

         Having heard the details, now for a second time, Caplan had just one more question: “So,

how do I get this done with you? What do I need to do?”

         In a call with Caplan and his wife several weeks later, on July 5, 2018, Singer proposed an

additional fraud: hiring one of his associates to secretly take classes on behalf of Caplan’s

daughter, to improve her grades in preparation for applying to college. Singer explained, “We

would do them online and one of my people would take the class for her.” Caplan’s wife replied

that she had a “problem with that.” Caplan then picked up the phone and spoke with Singer

privately. He asked, “[I]f somebody catches this, what happens?” Singer responded: “The only

one who can catch it is if you guys tell somebody.” Caplan replied, “I am not going to tell

anybody.” Once again, the two men laughed.

         Later in the call, Caplan returned to the subject of the ACT scam and told Singer he was

fully on board. The following is an excerpt from the call.

CAPLAN          Okay, well look, we are in for the, get her extra time, to the extent we can, extra
                time on the test.

Singer          Right

CAPLAN          And then, and taking the test one time and get her a, you know, a score in the 30s.

Singer          Correct.

CAPLAN          We are in for that, at 75, not an issue.

                                                   3
           Case 1:19-cr-10117-IT Document 489 Filed 09/26/19 Page 4 of 11




Singer          Done.

CAPLAN          Done. The other stuff (laughing)--

Singer          That will be up to you guys, it doesn’t matter to me.

CAPLAN          Yeah, I, I hear ya. It’s just, to be honest, I’m not worried about the moral issue
                here. I’m worried about the, if she’s caught doing that, you know, she’s finished.
                So I, I just--

Singer          It’s never happened before in twenty-some-odd years. The only way anything can
                happen is if she--

CAPLAN          Someone talks--

Singer          Yeah, if she tells somebody. And that’s why even on the payment to the school
                thing, nobody-- we never tell the-- you know, she just needs to know that you’re
                gonna get some help on this class.

CAPLAN          Correct.

Singer          She’ll be more than happy.

CAPLAN          Oh yeah, I, she, she won’t talk.

         In late July 2018, Caplan and his daughter flew to Los Angeles to meet with Singer’s

psychologist to obtain the medical documentation required to receive extended time on the ACT

exam. Caplan received and submitted the documentation to the ACT. After twice denying the

request for extended time, the ACT – acting at the request of law enforcement – granted it in early

November. In a call shortly thereafter, Caplan asked Singer – who by this point was cooperating

with investigators – whether anyone involved in the scheme had ever been caught. Caplan said:

“[K]eep in mind I am a lawyer. So I’m sort of rules oriented. Doing this with you, no way --

she’s taking the test. It’s her taking the test, right? There’s no way-- any trouble comes out of

this, nothing like that?”




                                                   4
            Case 1:19-cr-10117-IT Document 489 Filed 09/26/19 Page 5 of 11



         In response, Singer once again explained the scheme in exacting detail—and made clear,

repeatedly, that there was still time to back out. The choice to engage in fraud, he told Caplan,

was Caplan’s alone. The following is an excerpt from the conversation, which was consensually

recorded.

Singer          So then what’ll happen is, instead of wherever she was going to take the test, it’ll--
                now a test will show up-- usually the Wednesday before the 8th, at [the West
                Hollywood Test Center]. Then what’ll happen is, [Mark Riddell], who is the
                proctor, will fly in, and he will show up on Friday night, just like you guys would
                show up on Friday night, and then on Saturday morning at 7:45, 8 o’clock, you guys
                will show up at the school, which is on [LOCATION REDACTED]. And then
                what’ll happen is, you’ll go in, Mark will be your proctor. And so this is-- this is,
                again, how it all works. She’ll take the test. It’ll be all her taking the test and then
                at the end of the test, it would be decided that we want to score, let’s say, 33, so that
                she never has to take the test again. It’ll be one and done. Then she’ll-- you guys
                will leave and then Mark will then look at all of her answers. Because her answers
                will be put on a separate sheet of paper and then Mark will go through the answers
                and will figure out on all four of the-- there’s five sections. The fifth is writing. On
                all four sections and he will decipher her answers and-- and he will go back and--
                and ensure that he makes it so that her score ends up being between a 32 and 34,
                just depending on the curve for that particular test day. And normally he’s right on.
                And that is essentially how it would happen.

CAPLAN          And has anybody ever gotten into an issue with this?

Singer          Nobody. We’ve done this for four or five years and had probably 20-plus people do
                it. So-- but that’s the process.

CAPLAN          Never been an issue?

Singer          Never been an issue. So the decision here is yours. I’m-- I’m not-- I don’t want
                to influence you in any way. It’s totally up to you guys, however you guys want to
                do this.

CAPLAN          And do other-- are you guys the only ones who do this or--?

Singer          Based on what I know. I only know myself and the families that we work with. And
                so, you know, we have lots and lots of families. Not everybody gets extended time.
                Not everybody gets extended time with multiple days. So there’s lots of people who
                cannot do it and then there’s lots of people that do do it. So it’s kind of all in your
                corner. But now-- you understand the process now.

CAPLAN          I do.

                                                   5
           Case 1:19-cr-10117-IT Document 489 Filed 09/26/19 Page 6 of 11




Singer          So that, it’s really simple and easy, and it’s-- it’s up to you to decide one way or
                another. And it doesn’t matter to me. Whatever you guys want to do.

CAPLAN          No, I understand that, [Singer]. I-- I appreciate that and I-- I appreciate the candor
                here, and the directness. Okay. Give me a little bit to think about it and I will be
                back to you on it tomorrow. You-- you obviously need to firm this up right away,
                right?

Singer          Yeah, because we’ll need to get the $25,000 wire and then I need to call [Riddell]
                and Igor to see-- to make sure they’re available. My guess is you guys are available
                on the 8th because you guys were going to take it on the 8th anyways.

CAPLAN          Yeah. We’ll just make ourselves available.

         Within days of this call, Caplan wired $25,000 to a bank account in Boston, Massachusetts

in the name of Singer’s sham charity, the Key Worldwide Foundation (“KWF”). Singer had

already told Caplan that the money would be a “deposit” to reserve Riddell’s services. Singer

described Riddell as his “best test-taker,” who could “nail a score-- he’s that good.”

         On November 15, 2018, Caplan called Singer again and inquired once more whether

anyone “has ever gotten in trouble with this?” Caplan said his wife was “very nervous about all

this,” and asked Singer for assurance that changing the location of his daughter’s exam to Los

Angeles would not “create some sort of suspicion or issue? They say, “Why the hell is somebody

living in Greenwich taking it out in California?” Repeatedly, Caplan asked Singer whether there

was any risk of getting caught. The following is an excerpt from the conversation.

CAPLAN          [Let me] ask you straight up. You’ve never had an issue with this? No one has ever
                gotten in trouble with this?

Singer          I’ve never—

CAPLAN          Um—

Singer          --had an issue with anybody. We’ve done this, you know, probably 20 times plus.
                We did it this summer, because, you know, they moved the ACT, they offered a
                July test date in California. You couldn’t take it in California so we-- we weren’t a
                test center for the-- the summer, so a young person had to go to Houston to do it.

                                                  6
         Case 1:19-cr-10117-IT Document 489 Filed 09/26/19 Page 7 of 11



             We just did it for the subject test for a-- actually a girl that lives both in New York
             and Aspen. So nothing-- nothing to this point has happened.

CAPLAN       Could you ever see that happening?

Singer       I-- I’m not-- I have never seen it happen. The only-- so what happened is they
             changed the test form so that’s why Igor got confused, because the form is different
             for this new school year. So that’s why we called ACT, to say, “Okay, what’s the
             simplest way to do this, because she already had a regular ticket, not an
             accommodations ticket, and this is exactly what they told us on the phone.

CAPLAN       But what I’m-- what I’m asking is, is there any way for this to get back to [my
             daughter] or to the family? I mean, this comes out-- I-- I don’t even want to know
             what you guys do.

Singer       So the-- so here-- again, let me just-- I’ll just go retrace again. When [your daughter]
             takes the test, on the 8th, she’s going to take the test like she’s regularly taking the
             test, but she will take it, Mark will be there. Mark can answer any questions that
             she has. But Mark will proctor the test. She will have all the time, she’ll use her
             computer. She will think when she’s done with the test she has taken the test. No
             doubt about it. The difference is-- is that what we’ll do is, instead of her bubbling
             into the test, which we do with all kids who have learning differences, is they bub-
             - they write their answers on a separate sheet to the side of it, so that we can
             rebubble, so we don’t screw up the bubbling, which happens a lot for kids. Because
             they screw up their bubbling. And then she’ll-- she’ll leave at the end of the test
             time. Which I don’t know who’s going to take her. And then—

CAPLAN       I will. I’ll be there.

Singer       Okay. And you’ll-- you’ll meet Mark and Igor [Dvorskiy, the test center
             administrator], and you’ll-- you’ll go your own way. [Your daughter] will go in and
             take the test. She’ll be the only one, taking it in the room with-- with Mark. She will
             take the test. She will walk out the door. At the end of it she’ll say to you, “Dad, it
             was so hard,” or “I’m so tired,” or whatever the typical reaction out of the kid. Then
             Mark will finish the exam. He will then take the exam and look at her-- what she’s
             done, and then ensure that whatever score we decide that we want to get-- he has it
             down to a-- unbelievable that he can do it. Get that number based on the four
             sections. She’ll do the computer writing of the essay herself. That’ll be all her. He
             can help her if she wants some guidance [inaudible] approach. But other than that,
             that will be all her writing. And she will sign it and she’ll walk out of there and she
             will never know that this actually occurred. You will get your results back in, you
             know, anywhere from, 11-- depends on what day it goes back in. But anywhere
             from 11 to 20 days. And she’ll get her results and she’ll say, “Oh, my God, Dad, I
             got a 33!”




                                                7
           Case 1:19-cr-10117-IT Document 489 Filed 09/26/19 Page 8 of 11



CAPLAN          So she’s been taking Logic Prep and has been getting-- I think her highest score so
                far is a 22, and she’ll probably get up to a 24 on her next practice test. The fact that
                this could be different than what she had been showing on the practice test—

Singer          What-- so you tell me if you want-- would [you] prefer to have her get a 28? 27?
                28? 29? Probably based on what you’re just telling me right now, right, that --
                maybe that’s a better approach, because that’s still a very good score with her
                abilities and disability but—

CAPLAN          Well, I-- I’m thinking 30, 31 is all we need to do here.

Singer          Okay. Done deal. Done deal. It’ll be-- it’ll be 30, 31. So what happens is the test is
                curved. I don’t know if you know that. The test is curved against everybody in the
                country. So it can-- we can be one question off, or two questions off, and it can be
                a 30, it can be a 31. It may be a 29. It could be a 32. Just depends on the curve of the
                day. But it’ll be-- it’ll be right there.

CAPLAN          But what I’m asking you is, will that be an issue? So when Logic Prep asks us, well,
                how did she score, will they say, “Hmm?”

Singer          So - well, I don’t think it matters what they say, because at the end of the day she
                had a great day, they get credit for her doing really well and they have nothing to do
                with ACT and/or the colleges she’s going to apply [to].

CAPLAN          And they don’t feel incumbent on them to say this is suspicious?

Singer          Well, I don’t see why they would. It would only be a success story for them.

CAPLAN          Okay. Okay. I will send out the e-mail and I will send you what I get back.

         Two days before the exam, on December 6, 2018, Caplan and Singer spoke again. Caplan

told Singer that he wanted Riddell to score a 32 on the exam, which would place his daughter in

the 97th percentile nationally. Again, he asked Singer whether anyone involved in the cheating

scheme had ever gotten caught.

         On December 8, 2018, Caplan brought his daughter to Dvorskiy’s West Hollywood Test

Center for the exam, which Riddell corrected as Caplan had directed. Two weeks later, Caplan

wired $50,000 into the KWF bank account in Boston.




                                                   8
          Case 1:19-cr-10117-IT Document 489 Filed 09/26/19 Page 9 of 11



       In January, Caplan learned that the ACT had delayed scoring his daughter’s test. Caplan

and his wife repeatedly called Singer, concerned that the scheme would be uncovered.

       On January 16, 2019, the ACT sent Caplan’s daughter a letter notifying her that it was

“withdrawing its approval of the requested [testing] accommodations,” and that her exam would

not be scored In a call with Singer five days later, Caplan said, “Well, we’re fucked.” He asked

Singer if ACT “had a suspicion of cheating.”

       But days later, Caplan recommitted to the fraud by hiring a lawyer to challenge the ACT’s

refusal to score his daughter’s test. In a call on January 24, Caplan told Singer he had “gotten

counsel involved.” Still, he remained concerned about getting caught. He asked, “I need to know,

Rick, is there anything going on? Please just tell me. I’m not looking-- I just don’t want the family

to have any issue here. Is there anything going on with them and you guys or your proctor or Igor

Dvorskiy or [the West Hollywood Test Center] or anything like that?” And he said: “I never want

to do anything that couldn’t be on the front page of the Wall Street Journal but-- we-- we did

what we did.”

II.    Caplan Should Be Sentenced to Prison for Engaging in Blatant Fraud While
       Serving as Chairman of One of the World’s Largest Law Firms


       Caplan committed this crime while serving as chairman of one of the world’s largest law

firms. He traded on his position when it suited him, telling Singer that he was chairman of

prestigious firm and a “rules oriented” lawyer. In truth, his only guiding rules were: don’t get

caught, and don’t have your fraud appear on the front page of the Wall Street Journal. He made it

clear that he had no misgivings about paying bribes and cheating. His only concern, which he

expressed over and over again, was self-preservation.

       The fact that Caplan’s relationship with Singer was blatantly and exclusively criminal from

the outset distinguishes Caplan from many of his co-defendants. Caplan did not step gingerly over

                                                 9
          Case 1:19-cr-10117-IT Document 489 Filed 09/26/19 Page 10 of 11



the line. He jumped at the opportunity the moment it was offered to him – the fake recruiting visit,

the test center that Singer controlled, the corrupt proctor who would “make sure” his daughter

received whatever score he wanted, and the fact that no one would know what happened. All of it

was clear from the outset. It appealed to him, and he laughed with Singer about how the scam

worked “every time.” In his own words, he was “not worried about the moral issue.”

        Like many con-men, Caplan committed his crime from behind a façade of feigned integrity.

Caplan boasted on his law firm’s website and in interviews with news organizations about his pro

bono work for immigrant children even as he secretly conspired to bribe an ACT administrator

and pay a corrupt test-taker to cheat on his own child’s college entrance exams. Jail is the only

appropriate sentence for a leader of the Bar who displays such callous disregard for honesty and

the rule of law.

        Had Caplan’s criminal conduct ended with the exam itself, it would merit a significant

sentence of incarceration. But he persisted with an effort to misuse the legal process to secure the

benefits of his fraud. After the ACT notified his daughter that it was withdrawing its approval of

extended time and would not score her test, Caplan engaged an attorney to pressure the company

to change its position, using the implicit threat of litigation in service of his fraud. His actions

necessarily entailed lying not just to the ACT, but also to his own lawyer who, in advocating for

her client, became Caplan’s unwitting accomplice. Even as he took pains to insulate himself and

his family from any consequences, Caplan traded on the good name of a fellow member of the Bar

to secure the fruits of the fraud.

        Such conduct demands jail time. With every reason and every opportunity to back down,

Caplan doubled down. He abandoned the oath he took as a lawyer not only by committing fraud,

but by engaging another lawyer to secure the object of the fraud. Never once did the “moral issue”



                                                10
         Case 1:19-cr-10117-IT Document 489 Filed 09/26/19 Page 11 of 11



give him pause. Always, and above all, Caplan’s focus was on getting the test score and not getting

caught. These are precisely the circumstances in which considerations of just punishment, specific

deterrence and general deterrence are paramount — and all support the imposition of a meaningful

term of incarceration in this case.

                                           Conclusion

       Caplan should be sentenced to a term of incarceration of 8 months, a fine of $40,000, and

12 months of supervised release.

                                                     Respectfully submitted,

                                                     ANDREW E. LELLING
                                                     United States Attorney


                                             By:      /s/ Eric S. Rosen
                                                     ERIC S. ROSEN
                                                     JUSTIN D. O’CONNELL
                                                     LESLIE A. WRIGHT
                                                     KRISTEN A. KEARNEY
                                                     Assistant United States Attorneys

Date: September 26, 2019




                                                11
